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     Brandon Vera, Luis Javier Vazquez, Kyle
 8   Kingsbury, Kajan Johnson, Clarence
     Dollaway, and Tristan Connelly
 9

10                               IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT NEVADA
11

12   CUNG LE, NATHAN QUARRY, JON FITCH,
     BRANDON VERA, LUIS JAVIER VAZQUEZ,                    Case No. 2:15-cv-01045-RFB-BNW
13   and KYLE KINGSBURY, On Behalf of
     Themselves and All Others Similarly Situated,
14
                   Plaintiffs,
15

16          v.

17   ZUFFA, LLC, D/B/A ULTIMATE FIGHTING
     CHAMPIONSHIP and UFC,
18
                   Defendant.
19
     KAJAN JOHNSON and CLARENCE
20
     DOLLAWAY, On Behalf of Themselves and All           Case No. 2:21-cv-01189-RFB-BNW
21   Others Similarly Situated,

22                 Plaintiffs,
23          vs.
24
     ZUFFA, LLC, TKO OPERATING COMPANY,                    JOINT STATUS REPORT
25   LLC F/K/A ZUFFA PARENT LLC (D/B/A
     ULTIMATE FIGHTING CHAMPIONSHIP and
26   UFC), and ENDEAVOR GROUP HOLDINGS,
     INC.,
27

28                 Defendants.



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 1          Pursuant to the Court’s Minute Order filed in the Le action, dated April 24, 2024 (ECF 1021),

 2   the parties hereby provide the Court with the status of both the Le and the Johnson actions.

 3          On May 21, 2024, Plaintiffs filed their Motion for Preliminary Approval of the Settlement in

 4   Both Above-Captioned Matters, Provisional Certification of the Proposed Johnson Settlement Class,

 5   Preliminary Approval of the Plan of Allocation, Approval of the Notice Plan, and Approval of the

 6   Proposed Schedule for Completing the Settlement Process and all supporting papers at ECF No. 1024

 7   in Le and ECF No. 136 in Johnson.

 8          Plaintiffs look forward to presenting the settlement to the Court during the hearing scheduled on

 9   Friday, June 14, 2024.

10

11   Dated: May 24, 2024

12                                                     Respectfully submitted,

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21                                                  Kajan Johnson, Clarence Dollaway, and
                                                    Tristan Connelly
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 1                                      CERTIFICATE OF SERVICE

 2          I hereby certify that on this 24th day of May, 2024, a true and correct copy of the Joint Status

 3   Report was served via the U.S. District Court of Nevada’s ECF System to all counsel of record who

 4   have enrolled in the ECF System.

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 6                                                                /s/ Eric L. Cramer
                                                                  Eric L. Cramer
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                                               JOINT STATUS REPORT
